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15
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16
                                 NORTHERN DISTRICT OF CALIFORNIA
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18   KESHAV BHATTARAI; SAJJAN PANDEY;                 Case No. 3:19-cv-00731-EMC
     SUMNIMA THAPA; DONALDO POSADAS
19   CACERES; SORAYDA RODRIGUEZ                       JOINT STATUS REPORT
     MOTIÑO; DENIS MOLINA CHAVEZ; S.S.,
20   individually and on behalf of others similarly
     situated; and G.D.P., individually and on        The Honorable Edward M. Chen
21   behalf of others similarly situated,
22                 Plaintiffs,

23          v.

24   KIRSTJEN NIELSEN, in her official capacity
     as Secretary of Homeland Security; ELAINE
25   C.DUKE, in her official capacity as Deputy
     Secretary of Homeland Security; UNITED
26   STATES DEPARTMENT OF HOMELAND
     SECURITY; and UNITED STATE OF
27   AMERICA
                      Defendants.
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 1             As ordered by the Court, Dkt. No. 38, the Parties hereby file this joint statement setting forth

 2   the current status of this action.

 3             Pursuant to the Parties’ stipulation, this action is stayed pending final disposition of

 4   Defendants’ appeal of the preliminary injunction in Ramos v. Nielson, No. 18-01554 [“Ramos

 5   appeal”] or other order of this Court. Dkt. No. 23.

 6             Defendants’ Ramos appeal remains pending. On September 14, 2020, a divided panel of the

 7   Ninth Circuit vacated this court’s preliminary injunction. ECF No. 96.1 On November 30, 2020, the

 8   Ramos Plaintiffs filed a timely Petition for Panel Rehearing and Rehearing En Banc. ECF No. 102.

 9   On December 9, 2020, the Court of Appeals ordered Defendants to file a response, which

10   Defendants did on January 14, 2021. ECF Nos. 103, 106. At the Parties’ request, further proceedings

11   on Plaintiffs’ Petition for Panel Rehearing and Rehearing En Banc have been stayed and the Ramos

12   appeal has been referred to the Ninth Circuit Mediation Program for settlement discussions. ECF

13   No. 117. Negotiations remain active. See, e.g. ECF No. 140 (setting June 9, 2022 mediation

14   conference). The Parties expect that if they are able to reach a settlement in the Ramos appeal, the

15   agreement would encompass and resolve the claims in this action as well.

16   Dated: June 21, 2022                                     Respectfully submitted,

17                                                            /s/ Alycia A. Degen
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         “ECF” citations refer to the docket for the Ramos appeal.

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 1                               CIVIL LOCAL RULE 5-1(h) ATTESTATION

 2             Pursuant to Local Rule 5-1(h)(3), regarding signatures, Alycia A. Degen hereby attests that

 3   concurrence in the filing of this document has been obtained from counsel for Defendants.

 4   Dated: June 21, 2022                                  /s/ Alycia A. Degen

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